                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA            )                  DOCKET NO. 3:05CR98-MU
                                    )
            vs.                     )                  ORDER
                                    )
ANTONIO CROCKETT, et al.,           )
                                    )
                  Defendants        )
____________________________________)


       THIS MATTER IS BEFORE THE COURT on Defendant Antonio Crockett’s Motion in

Limine to Preclude Inadmissible Propensity Evidence. The Government previously filed notice in

this case of its intent to introduce evidence of Defendant’s prior bad acts pursuant to Rule 404(b) of

the Federal Rules of Evidence. After examining the briefs on this issue, it appears to the Court that

this evidence weighs solely towards Defendant’s propensity to commit the charged crime, and is

therefore inadmissible under Rule 404(b). Further, any other value this evidence might have had is

outweighed by the prejudicial effect of its admission, especially at this stage in litigation. The Court

specifically notes that a motion in limine had to be filed before the Government deigned to reveal

the identity of the prior bad acts in question. In fact, the Government’s initial notice does not even

specify which defendant the notice was directed towards. Thus, even were the evidence admissible

under Rule 404(b), it would still be inadmissible as more prejudicial than probative under Rule 403

of the Federal Rules of Evidence. Defendant’s motion is GRANTED.

       IT IS SO ORDERED.




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